   Case: 1:19-cv-00809 Document #: 182 Filed: 10/18/21 Page 1 of 2 PageID #:8181




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS


 EMANUEL DUNAGAN, et al.,
                     Plaintiffs,                     Case No. 19-cv-809

 v.                                                  Honorable Charles R. Norgle
 ILLINOIS INSTITUTE OF ART-CHICAGO,
 LLC, et al.,
                   Defendants.


                        DEFENDANT SHELLY MURPHY’S
                     RESPONSE TO ORDER TO SHOW CAUSE

       Defendant Shelly Murphy, by and through undersigned counsel, hereby submits this

Response to the Court’s Order to Show Cause explaining why she should not be held in

contempt for failing to pay Plaintiffs the sum of $6,464.80 within 15 days of the Court’s

order dated August 20, 2021.

       The first reason Shelly Murphy should not be held in contempt is because, as set

forth her attached declaration, she is not regularly employed and did not have money to

pay to Plaintiffs. See Exhibit A. The second reason Shelly Murphy should not be held in

contempt is because, also as set forth her attached declaration, although she still does not

have money to pay Plaintiffs herself, she was able to borrow funds to pay Plaintiffs. Said

funds were sent via FedEx in the form of a cashier’s check payable to Plaintiffs as directed

by Plaintiffs’ counsel. See Exhibit A-1.
  Case: 1:19-cv-00809 Document #: 182 Filed: 10/18/21 Page 2 of 2 PageID #:8182




      For the reasons set forth herein, Shelly Murphy should not be held in contempt.


             DATED October 18, 2021.


                                     By: s/ Michael A. Schern_____________
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                                         Admitted pro hac vice

                           CERTIFICATE OF SERVICE

        I hereby certify that on October 18, 2021, I caused the forgoing document to be
electronically filed using the Court’s CM/ECF system, notification of which will be sent
all to counsel of record.


                                        By: s/ Michael A. Schern_____________
